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                                                                                 FILED
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS                  January 28, 2019
                                                                         KAREN MITCHELL
                                                                     CLERK, U.S. DISTRICT COURT
IN THE MATTER OF                           §
CIVIL LITIGATION INVOLVING                 §      Special Order No. 13-3
THE FEDERAL GOVERNMENT                     §
AS A PARTY                                 §

                       ORDER GRANTING GOVERNMENT’S
                      OMNIBUS MOTION FOR LIFT OF STAY


       The government’s January 26, 2019 omnibus motion for lift of stay is

GRANTED. The stay previously entered on December 28, 2018 is hereby LIFTED in all

civil cases in the Northern District of Texas in which (1) the United States is a party and

(2) the attorney of record is an Assistant United States Attorney in the U.S. Attorney’s

Office for the Northern District of Texas, as identified in Exhibit A.

       Unless otherwise directed by the United States District Judge presiding in a

particular case, all deadlines that had not expired on or before December 21, 2018 in a

case covered by the stay order are extended for 34 days (i.e., the duration of the lapse in

appropriations for the Department
                         p        of Justice).
                                            )

       SO ORDERE
          ORDERED.
               ED.

       January
          uaary ____,
                  _ 2019.




                                           BARBARA M.G. LYNN
                                           Chief
                                           Chief Judge
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                                      Exhibit A

Beran, Lindsey    1:18cv181-C Tamasoa v. Keith
                  1:18cv192-C Pruitt v. Keith
                  3:12cv4457-N Capshaw et al v. White et al
                  3:17cv898-L-BN Brown v. USA
                  3:17cv2987-D-BT Chima v. United States of America
                  3:18cv834-L-BN Yeboah v. US Immigration and Custom Enforcement
                  3:18cv2043-G-BN Severino v. Johnson
                  3:18cv2304-S-BK Bao v. Session
                  3:18cv2306-N-BT Lewis v. USA
                  3:18cv2683-G-BH Hammad v. Session
                  3:18cv3088-B-BK Malakhov v. Session
                  4:18cv920-O Rodriguez v. Wilson
                  4:18cv926-O Harden v. Wilson
                  4:18cv954-O Cox v. Wilson

Chapman,          3:17cv2989-D USA v. $4,480,466.16 et al.
Beverly           4:14cv716-Y USA v. 1984 Beechcraft King Air 300

Cherry, Marti     3:16cv2911-B-BK Rutila v. US Department of Transportation et al
                  3:17cv2639-N-BT Begay v. Leap et al
                  3:18cv526-D-BT Sterling v. United States of America
                  3:18cv2353-G-BH Barela v. Underwood et al
                  4:17cv666-O Martinez v USA
                  4:18cv306-Y Fuller v. Chao

Compton, Mattie   2:17cv209-D USA v. Lyon et al

Coffin, Kenneth   3:12cv4457-N Capshaw et al v. White et al
                  3:18cv774-K-BK Parson v. Hale et al
                  5:18cv89-C Delgado-Jimenez v. McAdams

Cruce-Haag, Ann   1:18cv73-C Oldham v. United States Small Business Association
                  2:16cv129-D-BR Collier v. Esper et al
                  2:18cv163-D-BR Bishop v. Olsen et al
                  3:18cv1450-D Brooks v. US Department of Education
                  4:14cv1028-Y Blevins v. Bureau of Prisons Warden et al
                  5:18cv89-C Delgado-Jimenez v. McAdams
                  5:18cv95-C Le v. The United States of America
                  5:18cv165-C Frizzell v. United States of America et al




                                                                    EXHIBIT A – p. 1 of 3
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Delaney, Sarah   3:16cv3495-D Anibowei v. Lynch et al
                 3:18cv1404-N-BT White v. Underwood
                 3:18cv2372-G Med-Cert Home Care LLC v. Azar, II et al
                 3:18cv2469-C Carter-Simmons v. United States of America
                 4:18cv497-A Nowlin v. United States of America
                 4:18cv773-A Wooderts v. United States of America

Guiltinan,       3:17cv3341-S Mariacher v. United States of America
Richard          3:18cv280-L United States of America v. Knowles
                 4:18cv735-O Keehn v. United States Postal Service et al

Hasday, Lisa     3:15cv1178-K Stokes v. Johnson
                 3:17cv2482-D Cueva-Bustamante v. United States of America
                 3:17cv2701-M-BN Guillot v. Harmon et al
                 3:18cv686-C Price v. Wheeler
                 3:18cv1018-B-BH Brewer v. US Department of Justice et al
                 3:18cv1195-BK Okeayainneh v. US Department of Justice et al
                 3:18cv1349-M-BK Berk v. Executive Office of United States Attorneys
                 3:18cv1610-K Naquin v. United States of America
                 3:18cv2320-N Davidson v. US Department of Homeland Security et al
                 4:18cv614-A Johnson v. United States of America

Mahaffey, Clay   3:18cv2810-N Spencer et al v. USA

Martin, Greg     3:18cv1916-S USA v. $120,220 in U.S. Currency
                 3:18cv2346-B USA v. $94,995 in US Currency

Parker, Tami     1:17cv177-C Hendrick Medical Center v. Hargan
                 1:18cv11-C Anson General Hospital v. Azar, II
                 2:16cv129-D-BR Collier v. Esper et al
                 4:16cv752-O-BP United States of America v. Conner
                 4:17cv516-O Dao v. Upton et al
                 4:18cv59-A Mitchem v. United States of America
                 4:18cv225-O Conner v. United States of America
                 4:18cv497-A Nowlin v. United States of America

Rocha, Dimitri   3:13cv4495-B USA v. $14,245.67 in United States Currency
                 3:15cv4034-N USA v. Real Property Known as 802 CR 3375
                 3:17cv615-C USA v. 3000 Broken Bow Way,
                 3:18cv213-B USA v. $73,947.35 in United States currency
                 4:15cv806-Y USA v. $116,592 in U.S. Currency
                 4:18cv356-O USA v. Real Property Known as 2204 Park Springs Blvd.
                 7:17cv106-O USA v. One Fossilized Tyrannosaurus Bataar Skull




                                                                    EXHIBIT A – p. 2 of 3
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Stoltz, Brian    3:17cv695-M Beltran Hernandez v. US Dept of Homeland Security et al
                 3:17cv3008-K Family Rehabilitation Inc v. Hargan et al
                 3:18cv359-S McGinty v. Azar
                 3:18cv1988-N-BT Suter v. Denton et al
                 3:18cv2941-N-BK Raney v. Dept of Agriculture
                 4:18cv311-O BNSF Railway Company v. EEOC
                 3:18cv2946-B Reich v. Berryhill

Theiss, Dawn     3:17cv3299-L Murray v. United States of America
                 3:18cv437-B United States of America v. Malcolm et al
                 3:18cv2649-G-BN Redrick v. USA

Tindall, Mark    2:18cv0104-D USA v. $25,865.00 in U.S. Currency
                 2:18cv155-D USA v. $10,000 in U.S. Currency
                 2:18cv186-D USA v. $114,308 in U.S. Currency
                 3:17cv2286-N USA v. $50,060 in United States Currency
                 3:18cv683-G USA v. $33,000 in US Currency
                 3:18cv725-N USA v. $20,427.00 in U.S. Currency
                 3:18cv1728-N USA v. 2017 Ford F350
                 3:18cv1869-S USA v. $77,010 in U.S. Currency
                 4:18cv326-O USA v. Sig Sauer (Sig-Arms) MPX-P Pistol et al

Webb, Donna      3:18cv1230-B Reaves v. US Small Business Administration et al

Woodward,        1:17cv39-C Vaughn v. Castaneda et al
Amber (former)   3:16cv3432-D Ndom v. Duke et al
                 3:17cv3347-N-BH Davis v. Brennan et al
                 3:18cv834-L-BN Yeboah v. US Immigration and Customs Enforcement
                 3:18cv1823-K ITSERVE Alliance Inc v. Nielsen et al
                 3:18cv1912-K-BH Ogbogu v. Department of Labor et al
                 3:18cv2043-G-BN Severino v. Johnson
                 3:18cv2304-S-BK Bao v. Session
                 3:18cv2683-G-BH Hammad v. Session
                 3:18cv3258-G Rasheed v. Bierman et al
                 4:18cv488-O Trejo v. Pompeo et al
                 5:18cv95-C Le v. The United States of America




                                                                  EXHIBIT A – p. 3 of 3
